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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,                 CASE NUMBER:        06-20663

v.                                              HONORABLE AVERN COHN


D-10, DEXTER HUSSEY,

                     Defendant.
                                         /


                                    MEMORANDUM

       Defendant has filed Respondent’s Preliminary Witness List.          It names both

Demetrius and Terry Flenory. It appears that if both were to testify the testimony would be

cumulative. The Court has writed out Terry Flenory as a potential witness. This is

sufficient; Demetrius Flenory’s testimony would be cumulative.

       SO ORDERED.


Dated: August 30, 2010                       s/ Avern Cohn
                                             AVERN COHN
                                             UNITED STATES DISTRICT JUDGE



I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record and Dexter Hussey, 4107 19th Street, Ecorse, MI 48229 on this date, August 30,
2010, by electronic and/or ordinary mail.


                                                  S/Julie Owens
                                                  Case Manager, (313) 234-5160
